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  1   IV AN R EN E M O O R E                                                             -   '
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 6                             UN ITED STA TES BA NK RU PTCY C O UR T
 7                             C EN TR A L D ISTR ICT O F C ALIFO RN IA
 8

  9                                  ) Chapter7
 10   Inre:                          )
                                     ) caseNo.:2:16-bk-22878-BR
 11   KIM BERLY M ARTIN BRAGG (AlkA) )
      KIM BERLY BARBOUR,             ) (JudgeBarryRusselll
 12                   Debtor         )
                                     )
 13                                  ) APPELLANTS'DESIGNATION OF
                                     ) RECORD AND STATEM ENT OF
 14                                  ) ISSUESTO BE PRESENTED ON
 15                                  ) APPEAL
                                     )
 16                                  ) Date: TBD
                                     ) Time:TBD
 17                                  ) Place:Room 1668
 18                                  )
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 1    TO A LL PA RTIES AN D TO TH EIR A TTO RN EY S O F R EC O RD H EREIN :

 2           The Creditor Ivan Rene M oore, (ttcreditorandorçû
                                                             Appellant'')>pursuanttoFederalRule
 3    ot-sankruptcy procedure 8006, hereby subm its its statem entot-issuesto be presented on appeal
 4
      and its designation ofitem s to be included in the record on appeal.
 5
             A 11transcriptsare in creditor'spossession exceptforthe hearing on 4/19/22. Therefore,
 6
      thisappellantw illonly requesttranscripts forthe above reference date.A 1ltranscriptsw illbe
 7
 8 subm itted atthe tim e ofthe A ppellant'sO pening Briefisfiled in thism atter.

 9                       STATEM ENT O F ISSUES PRESENTED ON APPEAL
 10   A PPELLA N '
                 I'S PRESEN T TH E FO LL OW IN G ISSU ES O N A PPEA L:
 11
 12         l. D id the Banknlptcy Courtcom m itclearerrorof1aw and orabuse its discretion w hen it
 13              found thatlvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge
 14              injunctionunderl1U.S.C.j524(a)whennonoticeofthedischargeorderwasever
 15              giventoinform lvanReneMoorethatthe$3,150,000.,StateCourtjudgmentfor
 16              intentionalmaliciousinjurybythedebtoragainstlvanReneM ooreandhisfamilyand
                 otherspersonalproperty w asdischarged.
 17
 18
            2. D id the Bankruptcy Courtcom m itted clear erroroflaw and or abuse itsdiscretion w hen
 19
                 itfailed to give fullfaith and creditunder article IV ofthe United States Constitution to
20
                 theStateCourtjudgementwhich foundthatthedebtorcommittedwillfulandmalicious
21
                 tortto the creditorperson and personalproperty
22

23          3
             .   Did the Bankruptcy Courtcom m itted clearerror of1aw and or abuse itsdiscretion when
24               itdischarged the$3,150,000.,StateCourtjudgmentforintentionalmaliciousinjuryby
25               the debtoragainstlvan Rene M oore and his fam ily and otherspersonalproperty w as

26               discharged. W henthejudgementwasself-effectuatingpursuantto 1lU.S.C.j523(a)

27               (6).
28
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 1        4. D id the Bankruptcy Courtcom m itted clearerrorof1aw and or abuse itsdiscretion when

 2             itdischargedthe$3,l50,000.,StateCourtjudgmentforintentionalmaliciousinjuryby
 3             thedebtorwhen theStateCourtjudgementfor$3,150,000.,wasbasedonadequateand
 4             independentState grounds.
 5        5. D id the Bankruptcy Courtcom m itted clearerroroflaw and or abuse itsdiscretion w hen
 6             by imposing discovery sanctionsin theam ountof$13,000.when thedocum entssought
 7             wasin theexclusivepossession andcontrolofthedebtorKimberlyBarbour(aka)
               K im berly M artin-Bragg.
 8
          6. D id the Bankruptcy Courtcom m itclearerrorof1aw and or abuse itsdiscretion when it
 9
               found thatlvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge
 10
               injunctionunderl1U.S.C.j524 (a)when thedebtorobtaindischargeofthe
 11
               $3,150,111.,by com mittingbankruptcy fraudwhiletheadversary com plaintfor
 12
               bankruptcy fraud is currently pending in adversity case//----.
 13
 14       7.
               Did theBanknlptcy Courtcomm itclearerrorof1aw and orabuseitsdiscretion when it
 IS            found thatIvan Rene M oore in Contem ptofcourtforw ilfulviolation ofthe discharge

 16            injunctionunderl1U S.C.j524(a)whenthedebtorobtain dischargeofthe
                                     .



 17            $3 l50 lll., by com m itting fraud upon the Courtw hile the adversary com plaintfor
 18            fraud upon the courtiscurrently pending in adversity case#----.
 19       8. D id the B ankruptcy C ourtcom m itclear erroroflaw and or abuse its discretion w hen it
20             allow ed the debtorto enforce the sanctions thatw ithoutseeking relieffrom autom ation

21             stayintheM oorebankruptcycase//----in violation of11USC j362.
22
23        9. D id the Bankruptcy Courtcom m itted clearen-orof 1aw and orabuse its discretion w hen
24             itdischarged and vacated thiscreditorsow nership interestin his and fam ily and other
25             personalproperty aw arded to this creditorby a Los Angeles Superior CourtJury and
               Judge and affirm ed by the California CourtofA ppealand valued in the m illions of
26
               dollars?
27
28
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  1        10.D id the Banknlptcy Courtcom m itted clearerrorof 1aw and orabuse its discretion when
 2             itdism issed this creditors ow nership interestin hisand otherpersonalproperty aw arded
 3             to thiscreditorby a Los AngelesSuperiorCourtJul'
                                                              y and Judge and aftirm ed by the
 4             Califolmia CourtofA ppealand valued in the m illions ofdollars?

 5
 6         1l.Did theBankruptcy Courtcomm itted clearen-orof1aw and orabuseitsdiscretion when
               ithad irrefutable evidence thatthe debtorw as com m itting bankruptcy fraud and had
 7
               stolen m illions ofdollarsofthiscreditor'sand otherpersonalproperty in violation ofa
 8
 9             l'ulingfrom aLosAngelesSuperiorCourtJudgeandjury?

 10
      D ated:M ay 3rd 2022
 11
      R espectfully S     'ted
 12
 13
      lvan R ene A4oore
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      Creditor
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 1          II.D ESIG N A TION O F ITE M S TO BE IN CL UD ED IN TH E R EC O R D CA SE

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 4      Filing   y        #                                   oorketText
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                 t         1        1
                                    tChapter7Voluntal'yPetitionforIndividuals FeeAmount
                                                                                     .               (
 6               )         (2lpgs; k$335FiledbyKimberlyMartin-BraggStatementof                       p
                 l         3docs) iIntention forIndividualsFilingUnderChapter7tForm 108) i
 7               l                 1due10/28/2016.summaryofAssetsandLiabilitiestyonu                 q
 8               t                  t
                                    )106Sum or206Sum )due10/12/2016 ScheduleA /B :
                                                                           .
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                 f                  ,
                                    jPropertytFonzll06A/B or206A/B)due10/12/2016.                    i
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                                          )udleC:ThePropertyYouClaimasExempttFonT1 jj
                                              ue 10/12/2016.ScheduleD:CreditorsW ho Have
 10              (                  )claimsSecuredbyPropertytFonzl106D or2061))due
                                    '                                                                )
                 !                  i 10/12/2016 ScheduleE/F:CreditorsW ho HaveUnsecured 1
                                    1             .
 11              l
                 i                  (claims(yonn l06E/For206(
                                    !                         E/F)due 10/12/2016 schedule #
                                                                                          .

 12              y                  tG:ExecutoryContractsandUnexpiredLeases(Form 106G )
                                                                                      i
                 C                  lor2066)due10/12/2016.ScheduleH:YourCodebtors     )
13               )                  )
                                    l(Form l06Hor20611)due10/12/2016.Schedule1:Your '
                                     lncometFonu 1061)due10/12/2016.ScheduleJ:Your  l
14               )
                 '                  l          y 106J)due10/12/2016.Declaration About 1
                                    l Expens
                                           es( orm
15               i                  t
                                    lanIndividua1DebtorsSchedulestForm l06Dec)due     é
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                 S                  t 10/12/2016. Statem entofFinancialAffairstFon'
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16               )                  1207)due10/12/2016 Chapter7 Statem entofY ourCurrent j4
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                 :                  1M onthlylncometFon'n 122A-1)Due:10/12/2016 Chapter y .
17               .
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                                    )7MeansTestCalculationtFonzl122A-2)Due:10/12/2016. )
                                    l D eclaration by D ebtors as to W hetherIncom e w as Received
18                                  i t-rom an Em ployerw ithin 60
                                                                DaysofthePetitionDate(LBR
                                                                  -
                                                                                                     ;
19                                  jForm F1002-l)dueby 10/12/2016.lncompleteFilingsdue              :
                 )                  !by 10/12/2016 (Lively,Peter)Correction:Debtor,sname
                                                      .
                                                                                                     :
20                                  èupdatedtoreflectPDF.M odifiedon9/29/2016(Toliver,               )
      09/28/2016 l                  !
                                    iW anda).(Entered:09/28/2016)                                    (

22                         2          StatementAboutYourSocialSecurityNumber(Ofticial       è
                                      Form 121)Filedby DebtorKimberlyM artin-Bragg.(Lively,
23 09/28/2016                       (
                                      Peter)(Entered:09/28/2016)                            .
24                                  ' certiscate ofCreditcounseling Filed by D ebtor Kim berly
25 09/28/2016              (1pg)        M artin-Bragg.(Lively,Peter)(Entered:09/28/2016)

26                        1:            ElectronicFilingDeclaration(LBR Form Fl002-l)Filedby
                          (lpg)         DebtorKimberlyM artin-Bragg.(Lively,Peter)(Entered:
27 09/28/2016                           09/28/2016)
28
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                         1         M eetingofCreditorswith 341(a)meetingtobeheldon
                         (3pgs)     l1/03/2016 at09:00 A M atRM 2,915 W ilshire Blvd.,10th
                                   Floor,LosAngeles,CA 90017.ObjectionstoDischargedue
                                   by 01/03/2017.Cert.ofFinancialM anagem entdue by
                                   01/03/2017 forDebtorandJointDebtor(ifjointcase).Proof
                                   ofClaim dueby02/01/2017.(Lively,Peter)(Entered:
                                   09/28/20l6)

                                   ReceiptofVoluntaryPetition(Chapter7)42:16-1*-22878)
                                   gmisc,volp7)(335.00)FilingFee.Receiptnumber
                                   43391493.Feeamount335.00.(re:Doc//1)(U.S.Treasury)
                                   (Entered:09/28/2016)
                                   N otice ofD ebtor's PriorFilings fordebtorK im berly M artin-
                                   Bragg Case Num ber 14-15698,Chapter 11filed in
                                   C alifornia CentralBanknlptcy on 03/25/2014 ,D ism issed
                                   forOtherReasonon06/04/2015.(Admin)(Entered:
                                   09/29/2016)
                                   N otice ofD ebtor'sPrior Filings fordebtorK im berly
                                   Barbour Case N um ber 14-15698,Chapter 11 tiled in
                                   California CentralBankruptcy on 03/25/2014 ,D ism issed
                                   forOtherReasonon 06/04/20l5.(Admin)(Entered:
                                   09/30/2016)
                                   BNC CertificateofNotice(RE:relateddocumenttslé
                         (5pgs)    M eeting(AutoAssign Chapter7a))No.ofNotices:34.
                                   NoticeDate10/01/2016.(Admin.)(Entered:l0/01/2016)

                         2         BNC CertificateofNotice(RE:relateddocumenttsll
                         (2pgs)    VoluntaryPetition(Chapter7)filedbyDebtorKimberly
                                   Barbour)No.ofNotices:l.NoticeDate 10/01/2016.
                                   (Adminv)(Entered:10/01/2016)
21

22
                                   BNC CertificateofNotice(RE:relateddocumenttsl-
                                                                                t
                         (2pgs)    VoluntaryPetition(Chapter7)filedbyDebtorKimberly
23                                 Barbour)No.ofNotices:l.NoticeDate10/01/2016.
                                   (Admin.)(Entered:l0/01/20l6)
24
                         2         RequestforspecialnoticeandNoticecfzjppearancet?f
25                                 W ells Fargo Bank,N.A.Filed by lnterested Party W ELLS
                         (7pgs)
26                                 FARGO BANK,N.A..(Partington,Joshua)(Entered:
                                  J 10/05/2016)
27
                         10        SummaryofAssetsand Liabilitiesforlndividual(Official
28
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                         (70pgs)   Form l06Sum or206Sum),ScheduleA/B lndividual:
                                   Property(OfficialForm l06A/B or206A/B),ScheduleC:
                                   ThePropertyYou ClaimedasExempt(OfficialFol'm 106C)
                                   )Schedule D lndividual:Creditors W ho H ave Claim s
                                   SecuredbyProperty(OfficialFonn l06D or20617),
                                   Schedule E/F lndividual:CreditorsW ho Have Unsecured
                                   Claims(OfficialForm l06F or206F),ScheduleG
                                   Individual:Executory Contracts and Unexpired Leases
                                   (OfticialForm l06G or206G),ScheduleH lndividual:
                                   YourCodebtors(OfticialFonn l06H or20611),Schedule1
                                   lndividual:Yourlncome(OfficialFonn 1061),ScheduleJ:
                                   YourExpenses(OfticialFol'm l06J),DeclarationAboutan
                                   lndividualDebtor'sSchedules(OfticialForm l06Dec),
                                   Statem entofFinancialA ffairsfor lndividualFiling for
                                   Bankruptcy(OfficialForm 107 or207),Statementof
                                   lntentionforlndividualsFilingUnderChapter7(Official
                                   Form 108),Chapter7StatementofYourCurrentM onthly
                                   Income(OfticialForm l22A-l)(BNC Option),Exemption
                                   isnotbeingrequested.(OfficialForm 122A-1Supp)Filedby
                                   DebtorKimberlyBarbour(RE:related documenttsl-t
                                   Voluntary Petition (Chapter7)).(Lively,Peter)(Entered:
                                   10/07/2016)
                         11        DeclarationbyDebtorastoW hetherDebtorts)Received
                         (1pg)     lncomeFrom anEmployerW ithin 60DaysofPetition(LBR
                                   FonnF1002-l)FiledbyDebtorKimberlyBarbour(RE:
                                   relateddocumenttsllvoluntaryPetition(Chapter7)).
                                   (Lively,Peter)(Entered:10/07/2016)
                         l2
                         (1pg)

21                       l3        R equestforspecialnotice and notice ofappearance Filed by
                         (7pgs)    lnterestedPartyW ELLSFARGO BANK,N.A..(Toliver,
                                   W anda)(Entered:10/11/2016)
                                   ReceiptofM otion Filing Fee-$176.00by 71.Receipt
                                   Number20212242.(admin)(Entered:l0/12/2016)
                         l4        N otice ofm otion and m otion forrelieffrom autom atic stay
                         (8lpgs)   w ith supporting declarationsA CTION IN N ON -
                                   BA N KRU PTCY FO RU M RE:Bragg v M oore,M oore V
                                   Bragg .FeeAm ount$176,Filed by Creditorlvan Rene
                                   M oore(Fortier,Stacey)(Entered:l0/l2/20l6)
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      1                                  :
                                15       7RequestforcourtesyNoticeofElectronicFiling(NEF)Filed '
     2                 )        (1pg)    lbyDelmotte,Joseph.(Delmotte,Joseph)(Entered:             l
       l0/14/20l6 )                      ?10/14/20l6)
     3             l                     '
                   )                     l
     4             i            16       1Noticetocreditors(BNC)remotiongrelatesto l4 (Fortier, q  .


       10/17/20 l6 !                     !                                                      ?
                   )            (lpg)    jStacey)(Entered:l0/17/2016)                           t
                       j        17       j
                                         )Hearing Set(RE:relateddocumenttsll4M otionforRelief      '
     6                 l                 ,                                                         )
                       j                 jfrom Stay-ACTIONINNON-BANKRUPTCYFORUM                    f
     7                 i
                       !
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                                         l
                                         !filedbyCreditorIvanReneMoore)TheHearingdateisset ll
                                         lfor11/22/2016at10:00AM atCrtnu 1668,255E Temple i
     8 l0/17/2016 @
                  )                      j(
                                          SF
                                           t.,L0sAngeles,CA90012.ThecasejudgeisBanyRussell9
                                                                                          i
                       l                 I ortier,Stacey)(Entered:l0/l7/20l6)                      j
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     10                l        la       tsxccertiscateorxotice(a.
                                         l                       s,relateddocumenttsll6            l
                   j            (3pgs) j
                   '                     1Noticetocreditors(BNC))No.ofNotices:40.NoticeDate !j
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     11 l0/19/20l6 j                         10/19/2016.(Admin.)(Entered:10/19/2016)               )
     12                l        19           R
     13 l1/04/2016 @
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                       l        (1pg)
                                                 equestforcourtesyNoticeofElectronicFiling(NEF)Filed t
                                                                                                     )
                                         jbyDicker,Lee.(Dicker,Lee)(Entered:l1/04/2016)            j
                       '
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     14                j
                       '        20       lOppositionto(relateddocumentts):14Noticeofmotionand )
     15                j        (191pgs; ' m otion forrelieffrom autom atic stay w ith supporting 1
                       (
                       '        10docs) declarationsACTION INNON-BANKRUPTCYFORUM l
     16                #                     RE:BraggvMoore,MooreV Bragg.FeeAmount$176,            )
                       )
                       r                 #filedbyCreditorlvanReneM oore),'Declaration of           1
     17                )                 p
                                         jKimberly BarbourFiled by DebtorKim berly Barbour         )
                                                                                                   J
                   i
                   .                     l(Attachm ents:# lExhibitl#; Exhibit2#J.Exhibit3#1:
                                                                           .                       @
     18            y
                   :                     lExhibit4#jExhibit5#j.Exhibit6#2.Exhibit7#3.
                                         .
                                         1                .                                        l
     19            l
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                                         ;Exhibit8#: Exhibit9andProofofSelwice)(Dicker,Lee)        l
                                                                                                   j
        11/08/2016 @
                   t                     '(Entered:11/08/20l6)
                                         j                                                         l
    20                                   ;
                       '        2l       1Objection (relateddocumentts):14Noticeofmotionand        )
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    21                 C
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                                (9pgs)   @
                                         jmotionforrelieffrom automaticstaywithsupporting          7
                                                                                                   y
                       :                 $declarationsACTION IN NON-BANKRUPTCY FORUM
    22                 '                 iRs:sragg v M oore, M oorev Bragg.FeeAm ount$176,
                                         t                                                         )
    23                                   ifiledbyCreditorIvanReneM oore)ObjectionstoEvidence
                                         '
                                         .
                                             in Connection with the Opposition Filed by D ebtor    ,
    24 11/08/2016                            KimberlyBarbour(Dicker,Lee)(Entered:l1/08/2016)       è
    25                          22       Replyto(relateddocumentts):14Noticeofmotion and           '
    26                          (66pgs) 5motionforrelieffrom automaticstaywithsupporting           l
                                             declarationsA CTION IN N ON -BAN K RU PTCY FO RU M
    27                                       RE:Bragg v M oore,M ooreV Bragg.FeeAm ount$176,
          11/14/2016                         filedbyCreditorlvanReneM oore)FiledbyCreditorlvan
    28                      .
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                       ,              , ReneM oore(Pennington-lcmes,Patricia)(Entered:                  t
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     2                 )
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     3                       23       1M otion toAvoid Lien Property Lien with lvan Rene M oore         i
                  i                  l                                                                  i
     4            l
                  k          (60pgs) ) WithProofofserviceFiledbyDebtorKimberlyBarbour                   j
       ll/18/2016 j                  l(Lively,Peter)(Entered:ll/l8/20l6)
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                       j     24       1MotiontoAvoidLienPropertyLienwith Strategic
                                      -                                                                 l
     6                 l     (60pgs) I
                                     1Acquisitions, lnc.,PeterBaer,ProValueProperties,lnc.              j
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                                                                      201torKimberlyBarbour '
     9                 I
                       ù     25           MotiontoAvoidLienPropertyLienwithlvanReneMoore 1
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                       l     (57pgs) withproofofserviceFîledbyDebtorKimberlyBarbour                     1
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     10 1l/l8/20l6 j                  1(Lively,Peter)(Entered:ll/l8/2016)
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     11                j     26           MotiontoAvoidLienPropertyLienwithStrategic                    )
     12                !
                       j     (57pgs) 'Acquisitions,Inc.,PeterBaer,ProValueProperties,lnc.               !
                                          ïn thproofofserviceFiledbyDebtorKimberlyBarbour               l
     13 ll/l8/2016 1                      (Lively,Peter)(Entered:ll/l8/2016)                            '
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                       j                                                                                j1
     14                j     27           Noticeoflodgmentoforderi
                                                                 nBankruptcyCaseFiledby l
     15                !     (4pgs)       DebtorKimberlyBarbour(RE:relateddocumenttsll4
                                          N otice ofm otion and m otion forrelieffrom autom atic stay
     16                1              jwithsupportingdeclarationsACTION IN NON-
                       )
                       i               BANKRUPTCY FORUM RE:BraggvM oore,
                                                                              MooreV                    l
     17                1
                       )               Bragg.FeeAmount$176,Filedby CreditorlvanRene                     j
          l1/28/2016                  t
                                      kM oore).(Dicker,Lee)(Entered:l1/28/20l6)                         )
                       l     28       lC                                                                k
     19                ;              1 ertificationAboutaFinancialM anagementCoursefor                 1
                                                                                                        i
                       !     (4pgs)   :Debtorl(OfficialFonn 423)FiledbyDebtorKimberly                   (
    20    12/01/2016 k
                       )
                       1              IBarbour(RE:relateddocumenttsllMeeting(AutoAssign !
                                      l
                                      iChapter7a)) (Lively,Peter)(Entered:12/01/2016)
                                                       .                                                l
                       '
                                      I                                                                 ,
    22                 è
                       ,     29       jOppositionto(relateddocumentts):25MotiontoAvoid                  j
                             (25pgs) ,LienPropertyLienwith lvanReneM oore WithProofof     )
    23                 ;
                       ,             ;ServicefiledbyDebtorKimberlyBarbour)FiledbyCreditor (
          12/02/2016   '
                                     1IvanReneM oore(Fortier,Stacey)(Entered:12/05/2016) k
                                      q                                                           j
                             30       ! N otice to FilerofEn'orancl/or DeficientDocum entO ther - î
    25                                )                                                           l
                       .              'gAttorneyneedstouploadorderin CIAO)(RE:related
                                                  '-          ''                  --   '    7
                                                                                            (
    26                                tdocumenttslz7NoticeofLodgmentfiledbyDebtor           ,
          12/06/2016                  'KimberlyBarbour)(Fortier,Stacey)(Entered:12/06/20l6) r
    28    12/08/2016         31       ; O rderG ranting m otion forrelieffrom atltom atic stay
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                         (2pgs)    ACTION IN NON-BANKRUPTCY FORUM (BNC-PDF)
                                   (RelatedDoc#J-4)Signedon 12/8/2016(Fortier,Stacey)
                                   (Entered:12/08/2016)
                                   A dversary case 2:l6-ap-01543.Com plaintby lvan Rene
                         (53pgs)   M oore againstK im berly Barbour,G eorge Barbour,Keith
                                   Rouster,RobertPitts,R obertPittsEstates,PeterM Lively
                                    The Law O fticesofPeterM .Lively ,Does lthrough l0,
                                   lnclusive.FeeAmount$350.00NatureofSuit:(13
                                   (Recoveryofmoney/property -548fraudulenttransferl),(14
                                   (Recoveryofmoney/propel'ty -otherl)(M ilano,Sonny)
                                   (Entered:12/09/2016)

                                   BNC CertificateofNotice-PDFDocument.(RE:related
                         (3pgs)    documenttslr M otion forrelieffrom automaticstay
                                   ACTION IN NON-BANKRUPTCY FORUM (BNC-PDFI)
                                   No.ofNotices:l.NoticeDate12/10/2016.(Admin.)
                                   (Entered:12/10/20l6)

                         M         N otice ofH earing On D ebtor'
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                         (5pgs)    ProofofserviceFiledbyDebtorKimberlyBarbour(RE:
                                   relateddocumenttslr M otiontoAvoidLienPropertyLien
                                   withlvanReneM ooreWithProofofserviceFiledby
                                   DebtorKimberlyBarbour).(Lively,Peter)(Entered:
                                   12/13/2016)
                         35        N otice ofH earing On D ebtor'
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                                   relateddocumenttslr M otiontoAvoidLienPropertyLien
                                   withlvanReneM ooreWithProoflfServiceFiledby
                                   DebtorKimberlyBarbour).(Lively,Peter)(Entered:
                                   12/13/2016)
                                   D eclaration ThatN o Party Requested a H earing on M otion
                         (67pgs)   (LBR 9013-1(0)(3))Noticet?fM otionandMotiontoAvoid
                                   Lien WithPrtpqft?fServiceFiledbyDebtorKimberly
                                   Barbour(RE:relateddocumenttslO M otiontoAvoidLien
                                   Property Lien with Strategic A cquisitions,lnc.,PeterB aer,
                                   ProValueProperties,lnc.WithPrt
                                                                pqf(?fService).(Lively,
                                   Peter)(Entered:l2/14/20l6)
                         37        Declaration ThatN o Party Requested a H earing on M otion
                         (63pgs)   (LBR 90l3-l(0)(3))Notice(lfM otionandMotiontoAvoid
                                   Lien WithPl'ol?ft?fserviceFiledbyDebtorKimberly
                                   Barbour(RE:relateddocumenttslO M otiontoAvoidLien
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     13            '
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     14            i                       St Los Angeles, CA 90012.ThecasejudgeisBany Russell 1
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    25 12/22/2016                   (12/22/2016)
    26                       44
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    27                       (85pgs;       stay withsupporting declarationsPERSONAL PROPERTY
          l2/22/2016         3docs)        RE:Vehicles;listingofpersonalpropertyoflvanRene
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      1                l               )
                       #               rM oore,etc.,attached asExhibit5 .FeeAmount$l8l,Filed '
     2                 f               1
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                                       l(Attachments:#lExhibitExhibitslthrough2#2     .Exhibit t
     3                 '
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                       t               lReceiptofMotionforRelieffrom Stay -Personal                       i
     5                 1
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    21                 1
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    22                 )     2docs) tdeclarationsPERSONAL PROPERTY RE: Vehicles;listing t
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    24            y                     M oore(Fortier,Stacey)Additionalattachmentts)addedon !
       01/03/2017 y                     7/14/2017(DelMundo,W ilfredo).(Entered:01/03/2017)
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    26               )       50            ORDER OFDISCHARGE (BNC)(Drake,Monica)                          ,
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    2g                             .
          01/11/2017         51            Replyto(relateddocumentts):44Noticeofmotionand
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     2                 )                                        declarationsPERSONAL PROPERTY RE:Vehicles;listing             '
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     3                 !                                      , Exhibit5 FeeAm ount$l8l,filedby lnterested Party
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     9                 l                                      lExhibit5 .FeeAmount$181,filed bv lnterested Party              l
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          01/11/2017                                          l
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    20                 1                      2docs) j362FiledbylnterestedPartyWELLSFARGO BANK,N.A. )
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                                                              IPERSONAL PROPERTY RE:Vehicles;listing ofpersonal '
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    24                 i                                      lthrough2#2ExhibitExhibits3-6)).(Attachments:#1
                       '                                      i Proposed O rderG ranting M otion forR elieffrom the
    2s               ;                                        (AutomaticStay UnderllU.S.C.Section362)(Partington,
          01/19/2017 l                                         Joshua)(Entered:01/19/2017)                                    .


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     1                 ,
                                       FiledbyDebtorKimberlyBarbour(RE:related                      @
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                       '               documenttslr M otiontoAvoidLienPropertyLienwith
                                       lvanReneM ooreWithProofofserviceFiledbyDebtor                t
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     3                 l               Ki
                       $              t mberlyBarbour).(Lively,Peter)(Entered:01/20/2017)           p
     4                 )              E
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     9                       (44pgs) l
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     10                i              ybyCreditorIvanReneMoore(RE:relateddocumenttslso              j
                                      )ORDER OFDlScl-laRc;s .chapter7(CACB
     11                               l
                                      jAutoDischarge)(BNC)).AppellantDesignationdueby
          01/23/2017 )                j2/6/2017.(Milano,Sonny)(Entered:01/23/2017)
     12          .
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                             59       ' A ppellantD esignation ofContents For lnclusion in Record   -
     13                      (5Pgs) j
                                    6onAppeal;StatementoflssuesonAppeal;filedbyCreditor
     14                l
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                       1              lAppealandStatementofElection(OfficialForm 417A)).            t
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    19            )                   rCoul't-(OfficialForm 4l7A)-FeeAmount:$298.00,   .filed       j
    2:            l                   'by CreditorlvanReneM oore(RE:relateddocumenttslD             j
                  l                   ' ORDER OF DI    SCHARGE -Chapter7(CACB                       !
    21            !
                  )                     AutoDischarge)(BNC)) AppellantDesignation dueby
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       01/23/2017 j                     2/6/2017.).(M ilano,Sonny)(Entered:01/23/2017)              i
                       @                  ReceiptofAppealFiling Fee -$293.00 by 71.Receipt          i
    23    01/23/2017                      x                                                         y
                       l                      umber20215400.(admin)(Entered:01/23/2017)             (
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                                          ReceiptofAppealNoticing Fee-$5.00by 71.Receipt
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    27                       (5pgs)       documentts):éz.
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          01/23/2017                      (Toliver,W anda)(Entered:0l/24/2017)
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                   t            63            M otion to Dism iss case Filed by Creditor lvan Rene M oore
     2 01/23/2017 jl            (28pgs)       (Fortier,Stacey)(Entered:01/24/2017)
     3                    l
                          !     62            N otice ofRefen-alofA ppealto the United States District      J
     4                    :
                          l     (63pgs)       Court, CentralDistrictofCalifornia;withNoticeofAppeal l
                          t                   serviceList.(RE:relateddocumenttsls8NoticeofAppeal l
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     8 01/25/2017               (1pg)     l            stacey)(Entered:01/25/2017)                          j
     9                          65        tHearingset(Rs:relateddocumenttsl63DismissDebtor    l
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       01/30/2017 i                           Signedon 1/30/2017(Fortier,Stacey)(Entered:01/30/2017) t
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                  )             69            OrderGranting M otion To Avoid Lien -IVAN RENE
                  )             (4 pgs)       M OOREIBNC-PDF)(RelatedDoc#25)Signedon                 y
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                        '       70            Interim orderGrantingM otionToAvoidLien(tseeorder
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                        y                     1/31/2017(Fortier,Stacey)(Entered:01/31/2017)
    26
                                71            BNC CertificateofNotice-PDF Document.(RE:related
    27                          (6pgs)        doctlmenttsl68Motionforrelieffrom theautomaticstay
    28 02/01/2017                             PERSONAL PROPERTY (BNC-PDFI)No.ofNotices:l.
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    21                     h
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    25                                        480013 .Fee Am ount$18l,Filed by Creditorlvan Rene
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    27                          77            N otice ofA ppealand Statem entofElection to U .S.D istrict
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11         Desc
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                                   bylvanReneM oore(RE:relateddocumenttslo M otionfor
                                   relieffrom the autom atic stay PER SON A L PRO PERTY
                                   (BNC-PDFI).AppellantDesignationdueby2/21/2017.
                                   (M ilano,Sonny)(Entered:02/08/2017)
                         7.3.     jAppellantDesignation ofContentsForlnclusion in Record
                         (5pgs) 'OnAppeal;StatementofIssuesonAppeal;filedbylvan
                                 ReneM oore(RE:relateddocumenttslr NoticeofAppeal
                                 andStatementofElection(OfficialForm 4l7A)).Appellee
                                 designation dueby2/21/2017.(Milano,Sonny)(Entered:
                                 02/08/2017)

                         22        A ppellants'Certificate ofInterested Partieson Appealand
                         (5pgs)    N otice ofRelated Cases pursuantto LocalRules;filed by
                                   lvanReneM oore(RE:relateddocumenttslr Noticeof
                                   A ppealand Statem entofElection to U .S.D istrictCourt-
                                   (OfficialForm 4l7A)-FeeAmount:$298.00;filedbylvan
                                   ReneM oore(RE:relateddocumenttslv M otion forrelief
                                   from theautomaticstay PERSONAL PROPERTY (BNC-
                                   PDF)).AppellantDesignation dueby2/21/2017.).(M ilano,
                                   Sonny)(Entered:02/08/2017)
                                   N otice ofAppealand Statem entofElection to U .S.D istrict
                         (9pgs)    Court-(OfficialForm 417A)-FeeAmount:$298.00;filed
                                   by lvanReneMoore(RE:relateddocumenttslX Orderon
                                   M otiontoAvoidLien (BNC-PDFI).AppellantDesignation
                                   dueby2/21/2017.(M ilano,Sonny)(Entered:02/08/2017)
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                         (6pgs)    On A ppeal'
                                             ,Statem entof lssues on Appeal',tiled by Ivan
                                   ReneMoore(RE:relateddocumenttslr NoticeofAppeal
                                   and StatementofElection(OfficialForm 4l7A)).Appellee
                                   designationdueby2/21/2017.(M ilano,Sonny)(Entered:
21                                 02/08/2017)
22                       82        A ppellants'Certificate oflnterested Parties on Appealand
                         (5pgs)    N otice ofR elated Casepursuantto LocalRules;filed by
23
                                   lvanReneMoore(RE:relateddocumenttsl8oNoticeof
24                                 A ppealand Statem entofElection to U .S.DistrictCourt-
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25                                 ReneM oore(RE:relateddocumenttsl6gOrderonM otionto
                                   AvoidLien (BNC-PDFI).AppellantDesignationdueby
26                                 2/21/2017.).(M ilano,Sonny)(Entered:02/08/20l7)
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      j                .
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     2                 )                  documenttsls8NoticeofAppealandStatementofElection
                       è                  (OfticialForm 417A)tiledby Creditorlvan ReneM oore)
     3                 h                  (M ilano,Sonny)(Entered:02/07/2017)
      4                ,                                                                         .
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      5                      (29pgs) iCourt,CentralDistrictofCalifornia' ,withNoticeofAppeal     j
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                       l             7ServiceList (RE:relateddocumenttslr NoticeofAppeal
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     13                !
                       1     (1pg)    )automaticstay75and76(Fortier, St
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     14 02/08/2017 )
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                                      r02/08/2017)                                               j
     15                î     86       @
                                      lHearingSet(RE:relateddocumenttsl7sM otionforRelief        1
                       )                  from Stay-ACTION IN NON-BANKRUPTCY FORUM               $
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     16                i                  sledbycreditorIvanReneMoore)TheHearingdateisset )
     17                               jfor3/22/2017at02:00PM atCrtnn 1668,255E TempleSt., )
                                      lLosAngeles,CA 90012.ThecasejudgeisBarly Russell
     18 02/08/2017 l
                   )                      (Fortier,Stacey)(Entered:02/08/2017)
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                       t              yfiledby CreditorlvanReneM oore)TheHearing dateisset
    21                 (                  for3/22/2017 at02:00 PM atCrtrm 1668,255 E Tem ple St., '
                                          LosAngeles,CA 90012.ThecasejudgeisBarryRussell
    22 02/08/2017                         (Fortier,Stacey)(Entered:02/08/2017)
    23                                                                                           (
                             /.j.      BNC CertificateofNotice(RE:relateddocumenttsl8sNotice
    24                       (3pgs)    tocreditors(BNC))No.ofNotices:42.NoticeDate
          02/10/2017                   02/10/2017.(Admin.)(Entered:02/11/2017)

    26                       j..
                               z       NoticeRE:Appealfrom BankruptcyCourt(USDC)RE:
                             (2pgs)    2:17-cv-l051ODW (Originally filedatDistrictCourt
    27                                 02/09/2017).(RE:relateddocumenttsl/ NoticeofAppeal
          02/13/2017                   and StatementofElection(OfficialForm 417A)filedby
    28                                                                       .
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      1                t
     2                 è              C4/20/20l7(M ilano,Sonny).(Entered:02/13/20l7)
     3                               xoticeRE:Appealfrom BanknlptcycourttusoclRs:2:17- '
     4                 i
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     5                 )           '
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                       i           tM oore)(M ilano,Sonny)M oditiedon4/20/2017(M ilano, l   y
     6 02/13/2017 $                   l
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     7i                j     91    1RequestforcourtesyNoticeofElectronicFiling(NEF)Filed              1
                       2           )                                                                  )
     8 02/26/2017      )     (lpg) jby Smith,Valerie.(Smith,Valerie)(Entered:02/26/2017)              !
     9-                l           lx                                                                 J
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     10                q     (5pgs) !ReneM oore(RE:relateddocumenttsl7'/NoticeofAppeal                j
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     11 02/27/2017 j                      Sonny)(Entered:02/28/2017)                                      h
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                                    lNoticeofTranscriptsDesignatedforanAppeal, 'filedby lvan          !
     13            1         (5pgs) jReneM oore(1kE:relateddocumenttslv NoticeofAppeal                l
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     16                      (5pgs) )1ReneMoore(RE:relateddocumenttsl77NoticeofAppeal                 '
                   )                 )and StatementofElection (OfficialForm 417A)).(M ilano,          k
     17 03/01/2017 1                 r
                                     lSonny)(Entered:03/01/2017)                                      t
                   f                 ,                                                                )
     18            '   .     95      toppositionto(relateddocumentts):63M otiontoDismiss
                                     q
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     19                      (64pgs) IDebtortiledbyCreditorlvanReneM oore)withProofqf                 )
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                   '                 (ServiceFiledby DebtorKimberly Barbour(Lively,Peter)
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    20 03/08/2017                    )
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    21                 l
                       '     zi       oppositionto(relateddocumentts):75Noticeofmotionand )
    22                       (22pgs) (motionforrelieffrom automaticstaywith supporting    )
                                      )declarations A CTION IN N ON -BAN K RU PTCY FO RUM
    23                 '              '   RE:Bragg vsM ooreBC 459449.Fee Am ount$18l,filed by         ,

                                       CreditorlvanReneM oore)withProofcfserviceFiledby
    24                                :DebtorKimberlyBarbour(Lively,Peter)(Entered:
    25 03/08/2017                      03/08/2017)

    26                       ?.Z          Oppositionto (relateddocumentts):.
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                             (6pgs)       motionforrelieffrom automaticstaywith supporting
    27                                    declarationsA CTION IN N O N -BA N K RUPTCY FO RUM
          03/08/2017                      RE:M oorevsM artin-Bragg BC 480013.FeeAm ount$181,
    28    . .
Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11           Desc
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                                      filedbyCreditorlvanReneM oore)withProofofservice
                                      FiledbyDebtorKimberly Barbour(Lively,Peter)(Entered:
                                      03/08/2017)
                                      N otice ofProposed A bandonm entofProperty ofthe Estate
                         (5pgs)       (withproofofservice)FiledbyTrusteeBradD Krasnoff
                                      (TR).(Krasnoff(TR),Brad)(Entered:03/10/2017)

                         9..
                           :     Replytoopposition(relateddocumentts):95Oppositionfiled
                         (25pgs) by DebtorKimberlyBarbour)Filedby CreditorIvanRene
                                 Moore(Fortier,Stacey)(Entered:03/16/2017)

                         l00     Replyto(relateddocumentts):#-iOppositionfiledbyDebtor
                         (49pgs) KimberlyBarbour,9.J.OppositiontiledbyDebtorKimberly
                                 Barbour)FiledbyCreditorIvanReneM oore(Fortier,Stacey)
                                 (Entered:03/16/2017)

                         l0l     Replyto(relateddocumentts):.
                                                            @.iOppositionfiledbyDebtor
                         (25pgs) KimberlyBarbour,#J OppositionfiledbyDebtorKimberly
                                 Barbour)FiledbyCreditorlvanReneM oore(Fortier,Stacey)
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                         l02          D eficiency N otice Sentto U SD C RE:2:l7-cv-l051 O DW -
                         (1pg)        Statem entoflssuesand Designation ofR ecord have notbeen
                                      filed.Transcripthasnotbeen ordered.(RE:related
                                      documenttslr NoticeofAppealand StatementofElection
                                      (OfticialForm 417A)filedbyCreditorlvanReneM oore)
                                      (M ilano,Sonny)(Entered:03/22/2017)
                         l03          DeficiencyNotice Sentto UVDC RE:2:l7-cv-1055M W F -
                         (1pg)        Statem entoflssuesand D esignation ofRecord have notbeen
                                      filed.Transcripthasnotbeenordered.(RE:related
                                      documenttslv NoticeofAppealandStatementofElection
21                                    (OfficialFonn4l7A)filedbyCreditorlvanReneM oore)
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23                       l04          NoticeoflodgmentoforderinBankruptcy CaseRe.   'M otion
                         (6pgs)       forReliefFrom Stay WithPrtpt?fofserviceFiledbyDebtor
24                                '
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                                      motion and m otion forrelieffrom autom aticstay with
                                      supporting declarationsA CTION IN N ON -BA N K RUPTCY
                                      FORU M RE :M oore vs M artin-Bragg BC 480013.Fee
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                                      Amount$18l,FiledbyCreditorlvanReneM oore).(Lively,
27                                    Peter)(Entered:03/23/2017)
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    Case 2:16-bk-22878-BR                  Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11                                                                    Desc
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     1
                                               l05    ?NoticeoflodgmentoforderinBankruptcy CaseRe:Motion '
     2                                         (6pgs) )forReliefFrom Stay Withf'rtpt?
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     3                   .                                       t m otion and m otion forrelief from autom atic stay w ith                                                              y
                                                                 i supporting declarations A CTION IN N ON -BAN K RUPTCY                                                                 è
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                                                 pgs) 4
                                                      jtoDismissBankruptcy ofDebtorKimberlyBarbourWith    k
     8                   1
                         l                                       jProofofserviceFiledbyDebtorKimberlyBarbour(RE:                                                                         k
                         )                                       lrelateddocumenttsl63M otion toDismisscaseFiledby                                                                       r
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    11                   l
                         )                     l07               lOrderDenyingmotionforrelieffrom automaticstay                                                                          )
                         i                     (2Pgs) j
                                                      lACTION IN NON-BANKRUPTCY FORUM (BNC-PDF)                                                                                          i
    12                                                j(RelatedDoc#75)Signed on3/31/2017(Fortier, Stacey)                                                                                i
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          03/31/2017 T                                           4
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    14            l                           108                 OrderDenvinqmotion fOrrelieffrom automaticstav                                                                         )
                  t                           (2pgs)              ACTION Iu N NON-
                                                                              =' BANKRUPTCY FORUM (BNC-        -PDF)                                                                     j
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    ls            )                                              t(RelatedDoc# 76)Signedon3/31/2017(Fortier,Stacey)                                                                      l
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    21                                               )
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                                                     kNo.ofNotices:1.NoticeDate04/02/2017.(Admin.)                                                                                       )
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    24                                        (3pgs) idocumenttsllo8M otionforrelieffrom automaticstay                                                                                   '
                                                     (ACTION IN NON-BANKRUPTCY FORUM (BNC-PDFI)                                                                                          .
    25                                                N o ofNotices:l.NoticeDate04/02/2017.(Admin.)
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    26 04/02/2017                                     (Entered:04/02/2017)

    27                                        112                    BNC CertificateofNotice-PDFDocument.(RE:related
         04/02/2017                           (3pgs)                 documenttsllog OrderonMotionToDismissDebtor-Joint
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 3                                chapter7 Iw stee's Repol.
                                                          tot-x o D istribution:1, Brad D      )
                                                                                               ;
 4                                Krasnoff(TR),havingbeenappointedtnlsteeoftheestateof y
                                  theabove-nameddebtorts),reportthat1haveneitherreceived 1
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 5                                any propel'ty norpaid any m oney on accountofthisestate; )
                                  thatlhave m ade a diligentinquily into the financialaffairsof 1
 6                                th                                                            I
                                    edebtorts)andthclocationofthepropertybelongingtothe )
 7                                estate;andthatthereisnopropertyavailablefordistribution j
                                  from theestate overand above thatexemptedby law.        l
                                                                                          r
 8                                PursuanttoFedR BankP5009,1herebycertifythatthe               )
                                  estateoftheabove-nameddebtorts)hasbeenfully                  j
 9                                adm inistered.lrequestthat1bedischarged from any further     l
                                  dutiesastnlstee.Key inform ation aboutthiscaseasreported l
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 10                               inschedulesfiledbythedebtorts)orothelw isefoundinthe         j
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                                  case record:This case w aspending for7 m onths.A ssets       !
 11                               Abandoned(withoutdeducting anysecuredclaims):Not             )
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 12                               N
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 13                               scheduledtobedischargedwithoutpayment(without                1
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 14                               discharge):NotAvailable.FiledbyTnlsteeBradD Krasnoff j
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 16                               2,9l5 W ilshire Blvd.,10th Floor,Los Angeles,CA 90017.       j
                                  ObjectionstoDischargedueby01/03/2017.Cert.of                 î
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 17                               FinancialManagementdueby01/03/2017forDebtorand               l
 18                               JointDebtor(ifjointcase).ProofofClaim dueby                  j
      04/11/2017                  02/01/2017.).(Krasnoff(TR),Brad)(Entered:04/11/2017)         1
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22                                BANKRUPTCY FORUM (BNC-PDFI).Appellant                        r
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23 04/13/2017                     04/13/2017)
24                       114      A ppellantD esignation ofContents For lnclusion in Record
25                       (6pgs)   OnAppeal;Statementoflssueson Appeal;tiledbylvan
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26                                andStatementofElection(OfficialForm 417A)).Appellee
                                  designationdueby4/27/2017.(M ilano,Sonny)(Entered:
27 04/13/2017                     04/13/2017)
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     2                       (5pgs) jNoticeofRelated CasesPursuanttoLocalRules'
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    26                       (5pgs)       Heldon03/22/20l7at2pm;tiledby lvanReneMoore(RE:
    27                                    relateddocumenttslll7NoticeofAppealandStatementof
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                         12l      N otice ofReferralofA ppealto the United StatesD istrict
                         (32pgs) Court,CentralDistrictofCalifornia;withNoticeofAppeal
                                 ServiceList.(RE:relateddocumentts)ll3NoticeofAppeal
                                 and StatementofElection (OfficialForm 417A)filedby
                                 CreditorlvanReneM oore)(Milano,Sonny)(Entered:
                                 04/13/2017)
                         l22      N otice ofReferralofA ppealto the United StatesD istrict
                         (32pgs) Court,CentralDistrictofCalifornia;withNoticeofAppeal
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                                 and StatementofElection(OfficialForm 417A)tiledby
                                 CreditorlvanReneM oore)(Milano,Sonny)(Entered:
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                                  ReceiptofAppealFiling Fee -$586.00by 71.Receipt
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                                  ReceiptofCertification Fee-$22.00 by 71.ReceiptNumber
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                         l23      NoticeRE:Appealfrom BankruptcyCoul' t(USDC)RE:
                         (2pgs)   2:17-cv-02857CAS (OriginallyliledatDistrictCourt
                                  04/14/2017).(RE:related docum enttsll13NoticeofAppeal
                                  andStatementofElection(OfficialForm 417A)filedby
                                  CreditorlvanReneM oore)(M ilano,Sonny)(Entered:
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                                  04/17/2017)
                         124      NoticeRE:Appealfrom Bankruptcy Court(USDC)RE:
23                       (2pgs)   2:17-cv-02859CJC (Originally filedatDistrictCourt
                                  04/14/2017).(RE:relateddocumenttslll7NoticeofAppeal
                                  andStatementofElection(OfficialFonn 417A)filedby
                                  Creditorlvan ReneM oore)(M ilano,Sonny)(Entered:
                                  04/17/2017)

                         l25      Noticetocreditors(BNC)remotionto avoid lienrelatesto
27                       (1pg)    231(Fortier,Stacey)(Entered:04/17/20l7)
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11            Desc
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                         l26      BNC CertificateofNotice(RE:relateddocumenttsllzs
  2                      (3pgs)   Noticetocreditors(BNC))No.ofNotices:43.NoticeDate
                                  04/19/2017.(Admin.)(Entered:04/19/2017)
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                         (1pg)     Transcripthasnotbeenfiled.(RE:relateddocumenttsl77
  5                                NoticeofAppealandStatementofElection(OfficialForm
                                   4l7A)filedby Creditorlvan ReneM oore)(M ilano,Sonny)
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                                  NoticeofAppealandStatementofElection (OfficialForm
                                  417A)filedbyCreditorlvan ReneM oore)(M ilano,Sonny)
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                         l29       TranscriptOrderForm related to an A ppeal,regarding
                         (4pgs)    H earing D ate 3/22/2017 Filed by Creditorlvan Rene M oore
                                   (RE:relateddocumenttsll13NoticeofAppealandStatement
                                   ofElection (OfficialForm 417A),l17NoticeofAppealand
                                   StatementofElection(OfticialForm 4l7A)).(Fortier,
                                   Stacey)(Entered:05/05/2017)
                         130      TranscriptRecordTransmittal(Courttranscriptrecordshave
                                  beenuploadedtoFDS).ForOrderNumber:17-BR-22.RE
                                  HearingDate:3/22/2017,(TRANSCRIPTION SERVICE
                                  PROVIDER:Briggs,Telephonenumber3l04l04151.1(RE:
                                  relateddocumentts)l29TranscriptOrderFonn (Public
                                  Request)filedby CreditorlvanReneM oore)(Fortier,Stacey)
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                         131      Transcriptregarding H earing H eld 03/22/17 RE :H EA RIN G
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21                                Rem ote electronic access to the transcriptis restricted until
                                  08/23/2017.The transcriptm ay be view ed atthe Bankruptcy
22                                CourtClerk's O ffice on a public term inalor purchased
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                                  transcriptaccessrestriction hasended.(TRANSCRIPTION
24                                SERV IC E PROV ID ER :BR IG G S REPORTIN G
                                  COMPANY,INC.,Telephonenumber310-410-4151.j.
25                                N otice oflntentto RequestRedaction D eadline Due By
                                  6/1/2017.Redaction RequestDue By 06/15/2017.Redacted
26                                TranscriptSubm ission D ue By 06/26/2017.Transcriptaccess
27                                willberestrictedthrough08/23/2017.(M artens,Holly)
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     13                I        135 lNoticeRE:BK RecordComplete,BriefingScheduleRE: 1
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    26                                      beenuploadedtoFDS).ForOrderNumber:l7-BR-34.RE '
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24               '                CreditorlvanReneM oore)(M ilano,Sonny)(Entered:              !
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26                 t     (1pg)       Appeal2:17-cv-l055BRO (OriginallyfiledatDistrictCourt
27                 )                 08/18/2017).(RE:relateddocumenttsl8oNoticeofAppeal
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11          Desc
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                                  CreditorlvanReneM oore)(M ilano,Sonny)(Entered:
                                  08/21/2017)

                         l45     M otionForContemptNoticeofMotionandMotionfor
                         (7lpgs) lssuanceofanOSC Re:ContemptforViolationofthe
                                 Dischargelnjunction;Memorandum ofpointsand
                                 AuthoritiesandDeclarationofstevenA.Schuman inSupport
                                 ThereofFiledbyDebtorKimberlyBarbour(Dicker,Lee)
                                 (Entered:08/29/2017)
                         l46      NoticeoflodgmentoforderinBankruptcy CaseFiledby
                         (5pgs)   DebtorKimberlyBarbour(RE:relateddocumenttsll4s
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                                  IssuanceqfanOSC Re.ContemptforViolationofthe
                                  Dischargelnjunction;Memorandum ofpointsand
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                                  Nancy)(Entered:08/30/2017)
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26                       l49      NoticeofHearingDateofhfotionforlssuanceofanOSC Re.   '
27                       (3pgs)   C:???/cF??/?/FiledbyDebtorKimberlyBarbour(RE:related
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     12            l                  !IRE:relateddocumenttsll4sM otionforContemptfiledby                    l
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    21                 '     (5pgs) 'OrderOn:DebtorsMotiontoAvoidLienunder11 &1ç.c.J              .
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    26                 '     155          NoticeoflodgmentWithProofofserviceFiledbyDebtor                    ,
                             (8pgs)       KimberlyBarbour(RE:relateddocumenttslz4M otionto                   )
    27                 .                  A void Lien Property Lien w ith Strategic A cquisitions,lnc.,      '
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                                   Filed by DebtorKimberly Barbour,J.2.OrderGranting
                                   MotionToAvoidLien-):STRATEGIC ACQUISITIONS,
                                   IN C .,PETER BA ER,PRO V ALUE PR O PERTIES,IN C.
                                   (BNC-PDF)(RelatedDoc#14)Signed on 12/22/2016).
                                   (Lively,Peter)(Entered:09/26/2017)
                         l56
                         (4pgs)


                         l57      BNC CertificateofNotice-PDFDocument.(RE:related
                         (5pgs)   documenttslls6 OrderonM otiontoAvoidLien(BNC-
                                  PDF))No.ofNotices:l.NoticeDate10/12/2017.(Admin.)
                                  (Entered:10/12/2017)
                         l58      U SDC D ism issalofA ppealRE:A ppealU SD C N um ber:
                         (7pgs)   2:l7-cv-02859CJC (OriginallyfiledatDistrictCourt
                                  09/14/2017).(RE:relateddocumenttsll17NoticeofAppeal
                                  and StatementofElection (OfficialForm 417A)filedby
                                  CreditorIvanReneM oore).(M ilano,Sonny)(Entered:
                                  10/23/20l7)
                         l59      U SD C Judgm entA ppealed to the U nited StatesCourtof
                         (l4pgs) AppealsfortheNinthCircuitRE:USDC Number:2:l7-cv-
                                 02859CJC (OriginallyfiledatDistrictCourt10/13/2017).
                                 (RE:relateddocumenttslls8BAP/USDC dismissalof
                                 appeal)(M ilano,Sonny)(Entered:10/23/2017)
                         l60      Transcriptregarding H earing H eld 08/22/17 RE:HR G TO
                         (36pgs) CONSIDER SETTING A FURTHER DATE FOR THE
                                  D EPO SITION S.Rem ote electronic access to the transcriptis
                                  restricted until01/30/2018.The transcriptm ay be view ed at
21                                the Bankruptcy C ourtClerk'sO ffice on a public tenuinalor
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                                  410-4151.1.NoticeoflntenttoRequestRedaction Deadline
                                  D ue By l1/8/20 l7.Redaction RequestDue By l1/22/2017.
25                                Redacted TranscriptSubm ission Due By 12/4/2017.
                                  Transcriptaccessw illbe restricted through 01/30/2018.
26                                (M artens,Holly)(Entered:l1/01/2017)
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                         l61      Oppositionto(relateddocumentts):l5lOrder(Generic)
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11           Desc
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                         (40pgs) (BNC-PDFI)FiledbyCreditorlvanReneM oore(Fortier,
                                 Stacey)(Entered:l1/03/2017)
                         l62       U SD C D ism issalofAppeal-Order Granting Appellee's
                         (6pgs)    RequestforD ism issalofA ppealforM ootnessR E:A ppeal
                                  USDC Number:2:17-cv-02857SJO (Originallyfiledat
                                  DistrictCourtl1/15/2017).(RE:relateddocumenttsll13
                                  NoticeofAppealandStatementofElection(OfficialForm
                                  417A)filedbyCreditorlvanReneM oore).(M ilano,Sonny)
                                  (Entered:11/15/2017)
                         l63      U SD C D ism issalofAppealforLack ofProsecution RE:
                         (1pg)    AppealUSDC Number:2:17-cv-0566SJO (Originally tiled
                                  atDistrictCoul'tl1/30/2017).(RE:relateddocumenttslV
                                  NoticeofAppealandStatementofElection (OfficialFonn
                                  417A)filedbyCreditorIvanReneMoore).(M ilano,Sonny)
                                  (Entered:12/01/2017)

                         l64     M otion toSetAmountofsanctionsforViolationofthe
                         (13pgs) DischargeInjunction;Memorandum ofpointsand
                                 AuthoritiesandDeclarationofstevenA.SchumaninSupport
                                 ThereofFikedbyDebtorKimberlyBarbour(Dicker,Lee)
                                 (Entered:12/13/2017)

                         165      HealingSet(RE:relateddocumenttsll64GenericM otion
                                  filedbyDebtorKimberlyBarbour)TheHearingdateisset
                                  for 1/23/2018 at 10:00 A M atCrtrm 1668,255 E Tem ple St.,
                                  LosAngeles,CA 90012.ThecasejudgeisBany Russell
                                  (Fortier,Stacey)(Entered:12/13/2017)
                         l66      U SD C D ism issalA ppealed to the U nited States Courtof
                         (l4pgs) AppealsfortheNinthCircuitRE:AppealUSDC Number:
                                 2:17-cv-02857-SJO (OriginallyfiledatDistrictCourt
21                               12/14/2017).(RE:relateddocumenttsll6zBAP/USDC
                                 dismissalofappeal)(M ilano,Sonny)(Entered:12/19/2017)
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                         (3pgs)   case num berassigned and briefing schedule.A ppealD ocket
                                  N o.17-56914 assigned to N otice ofAppealto 9th Circuit
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                                  (OriginallyfiledatCourtofAppeals12/20/2017).(RE:
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 2                                    12/21/2017)
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                                 Oppositionto(relateddocumentts):l64MotiontoSet                ,
 4                       (29pgs) Alnount(?fSanctionsfor ViolationoftheDischarge                r
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 5                               Declarationofsteven-d.SchumaninSupportFicrctp  /tiled         :
                                 byDebtorKimberlyBarbour)Filedby CreditorIvanRene
 6 01/10/2018                    Moore(Fortier,Staeey)(Entered:0l/10/201S)                     )
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17            i                       filedatCourtofAppeals01/25/2018).(M ilano,Sonny).        !
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21                       (6pgS)       KimberlyBarbour(RE:relateddocumenttsll64M otion to       ,
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22                                    lnjunction;Memorandttm ofpointsandAuthoritiesand         î
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                                      DeclarationofstevenA.Schuman inSupportTherecfFiled
                                      byDebtorKimberly Barbour).(Lively,Peter)(Entered:
24 01/29/2018                         01/29/2018)
25                       173          O rder finding lvan Rene M oore in contem ptofcourtfor
26                       (3pgs)       willfulviolationofthedischargeinjunction andimposing
                                      sanctionsagainstMr.Moorewithcertiticateofservice(BNC-
27                                    PDF)(RelatedDoc# 164)Signed on 3/2/2018.(Fortier,
      03/02/2018                      Stacey)(Entered:03/02/2018)
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     2            (             (4pgs) :documenttsll-/3OrderonGenericM otion (BNC-PDFI)No. ;
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    21                     :           ,documenttslz3M otiontoAvoidLien PropertyLienwith                 l
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    22                     l            toAvoidLien (BNC-PDFI).(Lively,Peter)(Entered:                   r
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    24                          l80          NoticetoFilerOther-gAttonzeyneedstouploadaproposed
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    25                                       DebtorKimberlyBarbour)(Fortier,Stacey)(Entered:
    26 06/13/2018                            06/13/2018)
    27                          l81          O rderG ranting continuance ofM otion To A void Lien to
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     16                                                   p                                      (20pgs) #courtorderregardingthejudgmentandorderofLos                                                                                                                                                                                                   )
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     17                                                   t                                                                          lthe amountof$3.15m illion dollarsarising outofwillful                                                                                                                                                             !
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     18                                                   i                                                                          1        ion ofpersonalproperty in LosAngelesSuperior                                                                                                                                                              i
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    24                                                    è                                                                          'KimberlyBarbour(RE:relateddocumenttslz3M otionto
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    25 ll/19/20l8                                                                                                                     ofservice).(Lively,Peter)(Entered:ll/l9/2018)
    26
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    27                                                                                           (2pgs)                                    a.m.(BNC-PDF)(Related Doc# 23)Signedon 11/20/20l8
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     2                       (3pgs)       documenttsll88OrderonM otion toAvoidLien(BNC-
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    25                       (2pgs) : 10am (BNC-PDF)(RelatedDoc#23)Signedon4/2/2019
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    26 09/18/2019 é                    (Entered:09/18/2019)
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    21                 )                       , thatno furtherm atters are required thatthiscase rem ain      r
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    23                                          andthecaseisclosed.(RE:relateddocumenttslé M eeting è
                                               r(AutoAssignChapter7a),1.
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     3                                 )StatementofElection(OfficialFonu 417A)tiledby
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                         2l6       NoticeofMotionForOrderW ithoutaHearing(LBR 9013-
                         (3pgs)    1(p)or(q))FiledbyDebtorKimberly Barbour(RE:related
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                         222       NoticeoflodgmentoforderinBankvuptcy CaseRe.'Order
                         (3pgs)    GrantingDebtor'
                                                 sMotionforOrderReopening CaseFiled
                                   byDebtorKimberlyBarbour(RE:relateddocumenttslzl1
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                                   THEREOF FiledbyDebtorKimberlyBarbour).(Dicker,
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                         223       Objectiontothemotiontoreopen(relateddocumentts):2l1
                         (62pgs)   M otion;FiledbyCreditorlvanReneM oore(Fortier,
                                   Stacey)(Entered:02/07/2022)
                         224       Order Granting M otion to Reopen Bankruptcy Case for
                         (1pg)     ViolationofDischargelnjunctionunderllU.S.C.Sec.524
                                   (Ch 7)-NoFee(BNC-PDF)(RelatedDoc#211)Signed on
                                   2/7/2022.(Fortier,Stacey)(Entered:02/07/2022)

27                       225       N otice to creditors regarding orderto reopen relates to 224
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                        1                 'ViolationofDischargeInjunctionunderllU S.C.Sec.524             i
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26 02/11/2022                    (113pgs) ?ReneM oore(Fortier,Stacey)(Entered:02/11/2022)                 (

27                               234          HearingSet(RE:relateddocumenttslz33GenericMotion
      02/14/2022                              filedby CreditorlvanReneM oore)TheHearingdateisset
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11            Desc
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                                    for3/8/2022 at10:00 A M atCrtrm 1645,255 E Tem ple St.,
                                    LosAngeles,CA 90012.ThecasejudgeisBarryRussell
                                    (Fortier,Stacey)(Entered:02/14/2022)
                         235        N otice to creditorsregarding m otion to disqualify
                         (113pgs) HonorableBan'yRussellrelated todoc233 (BNC-PDF)
                                  (Fortier,Stacey)(Entered:02/14/2022)
                         236       N otice to creditorsregarding m otion to disqualify
                         (1pg)      HonorableBarfy Russellrelatestodoc233(BNC)(Fortier,
                                    Stacey)(Entered:02/14/2022)
                         237       N otice to creditors regarding Orderto Show Cause
                         (1pg)      regardingdoeument226(BNC)(Fortier,Stacey)(Entered:
                                    02/14/2022)
                         238        Oppositionto(relateddocumentts):233M otionfiledby
                         (6pgs)     Creditorlvan ReneM oore)MEMOM ND UM OF POINTS
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                                   SCH UM AN IN OPPOSITION TO M O TION TO
                                   DISQUALIFYFLLZdbyDebtorKimberlyBarbour(Dicker,
                                   Lee)(Entered:02/16/2022)
                         239       BNC CertificateofNotice(RE:relateddocumenttslz36
                         (4pgs)    Noticetocreditors(BNC))No.ofNotices:36.NoticeDate
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                         240       BNC CertilicateofNotice(RE:relateddocumenttslz37
                         (4pgs)    Noticetocreditors(BNC))No.ofNotices:36.NoticeDate
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                         24l      BNC CertificateofNotice-PDFDocument.(RE:related
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21
                                  Notices:36.NoticeDate02/16/2022.(Admin.)(Entered:
22                                02/16/2022)
23                       242       M oore's opposition to debtor'sB arbour'sm otion for an order
                         (135pgs; toshow causewhylvanReneeM ooreshouldnotbeheldin
24                       3docs) contemptforwillfulviolation ofdischargeinjunctionunder
25                                lluscsection524(A)(re1ateddocumentts):226Orderon
                                  M otion forContempt(BNC-PDFI)FiledbyCreditorlvan
26                                ReneMoore(Attachments:#lvolumets)Part2#.      ;.
                                  Volumets)Part3)(Lewis,Litaun)(Entered:02/22/2022)
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28                       243       Replyto(relateddocumentts):212M otionForContempt
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    Case 2:16-bk-22878-BR      Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11            Desc
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     15                    !              rracism,prejudice,andforlackofimpartialityFiledby                i
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     16                    1              )MotiontodisqualifyJudgeRussellFiledbyCreditorlvan
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                           !    247           RequestforjudicialnoticeinSupportOJ-OSC ReContempt '
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    23 03/01/2022 (                           03/01/2022)
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                           r    248           TranscriptOrder Form ,regarding Hearing D ate 03/08/22
    25                   )      (1pg)         FiledbyDebtorKimberly Barbour.(Dicker,Lee)(Entered:
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    27                          249           TranscriptRecordTransmittal(Coul4transcriptrecordshave
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11               Desc
                        Main Document     Page 44 of 68



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                t                  HearingDate:3/8/22,(TRANSCRIPTION SERVICE                      ?
 2              )                 ) PRO VID ER :Ben H yatt, Telephonenumber888/272/0022.
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 3              '                 t                                                               J
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                                      relateddocumenttslzslNoticeofLodgmentfiledbyDebtor (
26 03/23/2022                         KimberlyBarbour)(Fortier,Stacey)(Entered:03/23/2022) i
27                       253          D eclaration re:DECLAR ATION OF STE VEN A .
28 03/28/2022            (6pgs)       SCHUMAN IN CONNECTION WITH REPLY1N SUPPORT i
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      1                        (
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      2                        )
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                                             ' llU.S.C.Section 523(a)(6)(relateddocumentts):251
     11                        '             !
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                                                        aFcey)Additionalattachmentts)addedon               j
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     13 03/29/2022                           )on3/29/2022(Fortier,Stacey).(Entered:03/29/2022)             l
     14   .                                  l
                                    255      jAdversarycase2:22-ap-0l080.ComplaintbylvanRene t
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     ls                        )    (137pgs) lMooreagainstKimberlyBarbour,StevenA.Schuman,Lee )
                               l             lT.Dicker,LeonardLaw OfficeofPeterM .Lively,Dicker l
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    24 03/29/2022 l                         (Fortier,Stacey)(Entered:03/29/2022)                   ,

    25            ù                 258          CertificateofService(RE:relateddocumenttslzs6
                  !                 (5pgs)       M emorandum ofdecision(BNC-PDFI).(Fortier,Stacey)
    26 03/29/2022 '                              (Entered:03/29/2022)
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                  03/29/2022        259          Certit-icateofService(RE:relateddocumenttslzs7Order
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                   l         260      RequestfOrjudicialnoticeIN SUPPORT OF OSC RE                     ,
 3                 l         (l90pgs) CONTEMPT FiledbyDebtorKimberlyBarbour(RE:                        )
 4                 l
                   '                  relateddocumenttslz12,MotionForContemptDEBTOR                    )
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                   l         (6pgs)   1STEVEN A.,VCJ-fLJAf/1N JN CONNECTION WITH REPLY                 (
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19                 j                  'OF THE DISCHARGE INJUNCTION UNDER 11U.S.C.                      )
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21                                                                                                     )
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              )              264          Objectionpursuantto28U.S.C.(c)(l)Filedby lvanRene            )
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22 04/12/2022 !
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23                 )         265          M
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24                           (7pgs)       courtforwillfulviolationofthedischargeinjunctionunder
                                          llU.S.C.Section5244a)andimposingsanctionswith
25                                        certiticateofservicerelatesto226(BNC-PDF)Signedon
26 04/26/2022      .
                                          4/26/2022.(Fortier,Stacey)(Entered:04/26/2022)               r

27                           266          Ordertinding lvan Rene M oore in contem ptofcourtfor
      04/26/2022             (3pgs)       willfulviolationofthedischargeinjunctionunderllU.S.C.
28                                                                        .
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                                       Section524(a)andimposingsanctionswithcertiticateof
                                       service;relatedto226and (265)Re:(BNC-PDF)Signedon
                                       4/26/2022.(Fortier,Stacey)(Entered:04/26/2022)


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                         1         A dversaly case 2:l6-ap-01543.Com plaintby lvan R ene
                         (53pgs)   M oore againstK im berly Barbour,G eorge B arbour,K eith
                                   Rouster ,RobertPitts ,RobertPittsEstates ,PeterM Lively
                                   )The Law O fficesofPeterM .Lively ,D oes l through 10,
                                   lnclusive.FeeAmount$350.00NatureofSuit:(l3
                                   (Recoveryofmoney/property -548fraudulenttransferl),414
                                   (Recovely ofmoney/property -otherl)(M ilano,Sonny)
                                   (Entered:12/09/2016)
                                   ReceiptofAdversaly Filing Fee-$350.00 by 71.Receipt
                                   Number20214092.(admin)(Entered:12/12/2016)

                         2         Orderto Appearand Show Cause asto w hy plaintiffshould
                         (2pgs)    nothavetoamendhisSection 523complaint(BNC-PDF)
                                   Signedon 12/15/2016.(Fortier,Stacey)(Entered:
                                   12/15/2016)
                         3         H earing SetShow Cause hearing to be held on 1/24/2017 at
                                   02:00 PM atCrtnn 1668,255 E Tem ple St.,LosA ngeles,
                                   CA 90012.ThecasejudgeisBarly RussellîtFortier,
21                                 Stacey)(Entered:12/15/2016)
22                                 Proofofservice re orderto show cause as to w hy plaintîff
23                       (3pgs)    shouldothavetoamendhissection523complaint(RE:
                                   relateddocumenttslî Orderto Show Cause(BNC-PDFI).
24                                 (Fortier,Stacey)(Entered:12/15/2016)
25
                         1         BNC CertiticateofNotice-PDFDocument.(RE:related
26                       (3pgs)    documentts); OrdertoShow Cause(BNC-PDFI)No.of
                                   Notices:l.NoticeDate 12/17/2016.(Admin.)(Entered:
27                                 l2/l7/20l6)
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11        Desc
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                                   Noticeofplaintp FailuretoComplywithPre-/ling
                         (20pgs)   Requirementsè/nti/crCalfornia CodeofcivilProcedure)'
                                   39landRequestforStayPending OrderoftheCt?è/r/with
                                   ProofofserviceFiledby DefendantKimberly Barbour(RE:
                                   relateddocumenttsl-tAdversarycase2:16-ap-0l543.
                                   C om plaintby lvan Rene M oore againstKim berly B arbour,
                                   G eorge B arbour,K eith Rouster,R obertPitts,RobertPitts
                                   Estates,Peter M Lively,The Law Offices ofPeterM .
                                   Lively,Doeslthrough l0,lnclusive.FeeAm ount$350.00
                                   NatureofSuit:(13 (Recoveryofmoney/property-548
                                   fraudulenttransferll,tl4(Recoveryofmoney/property-
                                   otherl)filedby PlaintifflvanReneMoore).(Lively,Peter)
                                   (Entered:12/20/2016)
                                   Response to orderto show cause asto w hy plaintiffshould
                         (28pgs;   nothave to am end his Section 523 com plaintFiled by
                         2docs)    PlaintifflvanReneM oore.îtFortier,Stacey)Additional
                                   attachmentts)addedon7/14/2017(DelM undo,W ilfredo).
                                   (Entered:01/03/2017)

                                   Oppositiontostayofproceedings(relateddocumentts):.
                                                                                    i
                         (9pgs)    Noticefiledby DefendantKimberly Barbour)(Perphone
                                   call,Debtorstatedhehadtheincorrectcaption)Filedby
                                   PlaintifflvanReneM oore(Fortier,Stacey)(Entered:
                                   01/04/2017)

                                   HearingSet(RE:relateddocumentts)é.Noticefiledby
                                   KimberlyBarbour)Hearingtobeheldon01/24/2017at
                                   02:00 PM 255 E.Tem ple St.Courtroom 1668 LosA ngeles,
                                   CA 90012.ThehearingjudgeisBarly Russell(Fortier,
                                   Stacey)(Entered:01/04/2017)

                                   NoticeofHearingonPlaintx sFailuretoComply withPre-
21                       (4pgs)    FilingRequirementsWithProofofserviceFiledby
                                   DefendantKimberlyBarbour.(Lively,Peter)(Entered:
22                                 01/04/2017)
23                       l0        Replyto(relateddocumentts):.'
                                                               èStatementfiledbyPlaintiff
                                                               .
24                       (65pgs)   lvanReneMoore)ToResponsebyIvanReneMooreto
                                   OrdertoShow Causeasto WhyPlaintffshouldNotHave
25                                 toAmendliisj'523 Complaint.DeclarationofpeterM
                                   Lively withProofcfServiceFiledbyDefendantKimberly
26                                 Barbour(Lively,Peter)(Entered:01/17/2017)
27
                         11        Orderdenying requestforstay pending order ofthe court
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     1
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     2                                  (Fortier,Stacey)(Entered:01/25/2017)
     3              '        12         orderon orderto show causeasto why plaintiffshouldnot
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     4              l        (4pgs) )havetoamendhis# 523COMPLAINT (BNC-PDF)                        l
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     5 01/25/2017 !                 ?
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     6              '        13        à
                                       'SummonsIssuedonKimberlyBarbourDateIssued                   )
     7              l
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                    (        2docs) jdocumenttsllcomplainttilcdbyPlaintifflvanReneM oore) t
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                                    qComplaint,12Order(Generic)(BNC-PDFI).(Fortier,                j
     17 01/25/2017 j                jStacey)(Entered:01/25/2017)                                   j
    18              l                  r                                                           q
                    r        l7     lBNC CertificateofNotice-PDF Document.(RE:related              .

     19             t        (3pgs) #documenttslllOrderonGenericApplication(BNC-PDFI) )
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    22              ;        (5pgs) .documenttsllzOrder(Generic)(BNC-PDFI)No.of                    ;
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    23 01/27/2017                    01/27/2017)
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    24                       19         A nsw erto com plaintFiled by Kim berly Barbour (Dicker,
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    25 02/23/2017 '          (26pgs)    Lee)(Entered:02/23/20l7)
    26                       20         Statusreport(Unilateral)FiledbyPlaintiffIvanReneM oore è
                             (8pgs)     (RE:relateddocumenttsll Complaint).(Vandensteen,
    27 03/09/2017                       Nancy)(Entered:03/13/2017)
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     2                 '     (6pgs)    Barbour(RE:relateddocumenttsll Complaint).(Dicker,
          03/14/2017                  l
                                      jLee)(Entered:03/14/2017)

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     6 03/22/2017 '                   jStacey)(Entered:03/22/2017)                               (
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                       '     77.    ,NoticeoflodgmentofstatusConferenceandScheduling
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     11                )              i0                                                         j
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                       1              $Amount$350.00NatureofSuit:(13(Recoveryof
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     13 03/27/2017 j                  jMoore).(Dicker,Lee)(Entered:03/27/2017)                   (
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     14                !
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     ls              !       (3pgs) )
                                    taddressforadversaryproceedingsonlyFiledbyPlaintiff          t
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          03/30/2017 !              '
                                    lIvan ReneM oore(Fortier, Stacey)(Entered:03/31/2017)        l
     17            l                  )SchedulingOrder(seeorderfordetai1s)(BNC-PDF)Signed '
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                                      jon3/31/2017.Discoverydueby 8/1/2017.(Fortier,Stacey) )
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    20                 p     (3pgs)   (documenttslz4SchedulingOrder(BNC-PDFI)No.of               j
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    21 04/02/20l7 r                   4
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    22                       26           Noticeofcontinuanceofstat' usconferenceto6/20(2)(RE:   :
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    23                       (2pgs)       relateddocumenttslz4tFortier,Stacey)(Entered:
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    25                       (136pgs; Barbour(Attachments:#lExhibitl#; Exhibitz-part1#7.
                                                                             .

    26                       7docs) Exhibitz-part2#4Exhibit3-6#j.Exhibit7-19withProof
                                      ofService # i SupplementStipulation Re:Motion for
                                                     .


    27 05/11/2017                         ProtectionOrder)(Dicker,Lee)(Entered:05/11/2017)
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    1
                                  28           HearingSet(RE:relateddocumenttslz7M otionfor
    2                                          ProtectiveOrderfiledby DefendantKimberly Barbour)The t
                                               H earing date is setfor6/20/2017 at02:00 PM atCl4nu               è
    3                                          1668, 255 E Tem ple St.,Los Angeles,CA 90012.The case             '
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 12                               (25pgs) jrelateddocumenttsllcomplaint).(oicker,t-ee)(Entered: 1
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 16                                        1byDefendantKimberlyBarbour(Dicker,Lee)(Entered:                      l
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 17                               33       iStipulation By K im berly B arbourand Re.'M otion to Compel f
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                                  (l7pgs) jFurtherResponsestoSpecialInterrogatoriesFiledby
                                          tDefendantKimberlyBarbour(Dicker,Lee)(Entered:
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22                                             st Los Angeles, CA 90012.ThecasejudgeisBarryRussell ,
23 05/24/2017                                  (Fortier,Stacey)(Entered:05/24/2017)                              )
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24                                35           ProofofserviceFiledbyDefendantKimberlyBarbour(RE:                 J
25                                (4pgs)       relateddocumenttsl3zM otiontoCompelFp/r//lt?rResponses            )
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26                                             AuthoritiesandDeclarationofstevenA.us-c/cl/rptzpin                è
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Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11         Desc
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                         (109pgs; ofpointsandAuthoritiesandDeclarationt?fStevenz1.
                         2docs) Schumanins'è/  r.
                                                ptpr/ThereofFijedby DefendantKimberly
                                  Barbour(Attachments:#lExhibitExhibits8through l0
                                   and ProofofSelwice to M otion to Com pelProduction of
                                   Documents)(Dicker,Lee)(Entered:05/26/2017)

                         lZ        Stipulation By Kim berly B arbourand Re:M otion to Compel
                         (46pgs)   ProductionofDocumentsFiledbyDefendantKimberly
                                   Barbour(Dicker,Lee)(Entered:05/26/2017)
                         38        HearingSet(RE:relateddocumenttslàiGenericMotion
                                   filedbyDefendantKimberlyBarbour)TheHearingdateis
                                   setfor 6/20/2017 at02:00 PM atCrtnn 1668,255 E Tem ple
                                   St.,LosAngeles,CA 90012.ThecasejudgeisBarryRussell
                                   (Fortier,Stacey)(Entered:05/26/2017)
                         39        Oppositionto(relateddocumentts):2.
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                         (63pgs)   ProtectiveOrderfiledby DefendantKimberly Barbour)
                                   Filedby PlaintifflvanReneM oore(Fortier,Stacey)
                                   (Entered:06/01/2017)

                         O         M otion forProtective Order Filed by Plaintifflvan Rene
                         (l8pgs)   Moore(Fortier,Stacey)(Entered:06/01/2017)
                         4l        Statusreport(Unilateral)FiledbyPlaintifflvanReneMoore
                         (l0pgs)   (RE:relateddocumenttsll Complaint).(Toliver,W anda)
                                   (Entered:06/05/2017)
                         X         Replyto(relateddocumentts):;...
                                                                 4MotionforProtective
                         (l0pgs)   OrdertiledbyDefendantKimberlyBarbour)Reply in
                                   SupportofMotionforaProtectiveOrder;Supplemental
                                   Declarationofsteven-d.Schuman FiledbyDefendant
                                   KimberlyBarbour(Dicker,Lee)(Entered:06/06/2017)
 21
                         43        Oppositionto(relateddocumentts):.
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                         (l3pgs)   FurtherResponses to Speciallnterrogatories..M em orandum
 23                                ofpointsandAuthoritiesandDeclarationofsteven,1.
                                   Schuman inSupportF/zcrctp
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24                                 Barbour)FiledbyPlaintifflvanReneMoore(Fortier,
                                   Stacey)(Entered:06/06/2017)
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26                       O         Opposition to(relateddocumenttsl:.
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27                                 AuthoritiesandDeclarationofstevenA.5-c/?l/p?t???in
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     6            .          (161pgs; :Conne                                                           1
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     7            l          4docs) KimberlyBarbour.(Attachments:#lExhibitExhibits9-12                 I
                  1                    # 2.ExhibitExhibits 13-15 #3.ExhibitExhibits16-17 and           1
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     8 06/16/2017 )                   lProofofService)(Dicker,Lee)(Entered:06/16/2017)                 t
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     13             l        48           NoticeoflodgmentoforderRe.
                                                                   'StatusConferenceand                j
                    l        (7pgs)    DiscoveryMotionsFiledby DefendantKimberlyBarbour                l
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                                       ResponsestoSpecialInterrogatories;Memorandum of
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                    l                  SchumaninSupportF/gcrctp/FiledbyDefendantKimberly               à
     16             (                 1                                                                t
                    l                 )BarbourtiledbyDefendantKimberlyBarbour,36M otionto              y
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    24 07/20/2017 ,                   ,
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    25              .        49           Order D enying M otion to com pelresponse to production of
    26                       (3pgs)    documentssetonewithcertiticateofselwice(BNC-PDF)
                                       (Re1atedDoc#45)Signedon7/26/2017.(Fortier,Stacey)
    27 07/26/2017                      (Entered:07/26/2017)
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                                            o                OrderDenying M otion ForSanctions/Disgorgem entwith                          t
    2                                      (3pgs)         certificateofservice(BNC-PDF)(RelatedDoc#47)Signed i
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    4                                          51                  1 Order re plaintiffsrequestto issue third party subpoenasto 1
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23 09/14/2017 7                     (M ilano,Sonny)(Entered:09/14/2017)
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24                 7     88            Certificate ofReadiness ofRecord on Appealto D istrict
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                   l     (2pgs)        Court-CaseNumber:2:17-cv-5942SVW .(RE:related      f
25                                     documenttsl68NoticeofAppealandStatementofElection !
26                                     (OfficialFonn 417A)filedbyPlaintiffIvanReneM oore)
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Case 2:16-bk-22878-BR                                           Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11                                Desc
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    Case 2:16-bk-22878-BR   Doc 270 Filed 05/03/22 Entered 05/04/22 09:08:11                   Desc
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    26 11/17/2017            (3pgs)             Signedon ll/l7/2017(Fortier,Stacey)(Entered:ll/l7/2017)
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    25                               andStatementofElection(OfficialForm 4l7A)tiledby
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    26                 '             Record'Statem entoflssues# ; Certificate oflnterested
    27                               Parties;NoticeofRelatedCases)(M ilano,Sonny)(Entered:
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     6            i                     )12/04/2017)                                                                l
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     11                    i                1
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    21                                  and2:17-cv-08741-SVW (Closed).AppellantsOpeningBrief )
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    27                           ll1            N otice RE:BK Record Com plete,Briefing Schedule RE:
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     2                  ,                    lAppealand StatementofElection (OfficialForm 417A)filed
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